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 1                                  UNITED STATES DISTRICT COURT
 2                                  EASTERN DISTRICT OF CALIFORNIA
 3                                               FRESNO
 4                                             ********
 5    UNITED STATES OF AMERICA,                         Case No.:      1:03-cr-05165 OWW
 6                    Plaintiffs,
                                                                           ORDER
 7            v.
 8    JUAN REFUGIO SANCHEZ,
 9            Defendant.
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12          An evidentiary hearing at which the defendant’s presence is required has been ordered to
13   be held November 3, 2008 at 2:00 p.m. in Courtroom 3, United States District Court, Eastern
14   District of California, Fresno.
15          The warden of Lompoc Federal Correctional Institution shall produce defendant for
16   transport to this court and deliver defendant to the custody of the U.S. Marshal for transportation
17   in time for the court hearing.
18   IT IS SO ORDERED.
19   Dated: September 26, 2008                         /s/ Oliver W. Wanger
     emm0d6                                       UNITED STATES DISTRICT JUDGE
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